                         Case 2:17-cv-01515-KJM-AC Document 340 Filed 12/18/23 Page 1 of 4


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                      f/k/a Aerojet-General Corporation
                   15

                   16                               UNITED STATES DISTRICT COURT
                   17                              EASTERN DISTRICT OF CALIFORNIA
                   18

                   19 AEROJET ROCKETDYNE, INC. f/k/a                     Case No. 2:17-CV-01515-KJM-AC
                      AEROJET-GENERAL CORPORATION,
                   20                                                    NOTICE OF SETTLEMENT, JOINT
                                Plaintiff,                               REQUEST TO STAY DEADLINES, AND
                   21                                                    [PROPOSED] ORDER REGARDING
                           v.                                            FILING OF DISPOSITIONAL
                   22                                                    DOCUMENTS
                      GLOBAL AEROSPACE, INC.; ET AL,
                   23                                                    Judge:        Hon. Kimberly J. Mueller
                                Defendant.                               Trial Date:   Not set
                   24

                   25 AND RELATED CROSS-ACTIONS.

                   26
                                    TO THE HONORABLE COURT:
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                                       NOTICE OF SETTLEMENT, JOINT STIPULATION, AND [PROPOSED] ORDER
                         Case 2:17-cv-01515-KJM-AC Document 340 Filed 12/18/23 Page 2 of 4


                    1               Pursuant to L.R. 160(a), the Parties, by and through their counsel of record, hereby notify

                    2 the Court that the Parties have reached a settlement resolving all claims and counter-claims in the

                    3 above-entitled matter in full. The Parties respectfully request that the Court vacate all pending due

                    4 dates and hearings, including the December 22, 2023 briefing deadline on Defendants’ pending

                    5 Bad Faith Motion for Summary Judgment and the January 26, 2024 hearing on said motion, and

                    6 retain jurisdiction over this case until all performance obligations under the settlement agreement

                    7 are satisfied. Due to the number of Defendants involved in this action, it is estimated that

                    8 Defendants will fully perform their settlement obligations on or before January 15, 2024. Upon

                    9 Defendants’ completion of their settlement obligations (as mandated under the settlement

                   10 agreement) and within five (5) business days after said completion, the Parties will file with this

                   11 Court a joint stipulation of dismissal with prejudice to be signed by counsel for all Parties.

                   12               Respectfully submitted,
DOWNEY BRAND LLP




                   13
                        Dated: December 18, 2023                          DOWNEY BRAND LLP
                   14

                   15                                                     By: /s/ William R. Warne
                                                                                 William R. Warne
                   16                                                            DOWNEY BRAND LLP

                   17                                                             -and-

                   18                                                             Milton “Skip” Smith
                                                                                  Kellie Fetter
                   19                                                             SHERMAN & HOWARD L.L.C.

                   20                                                             -and-

                   21                                                             Christopher R. Mosley
                                                                                  FOLEY HOAG, LLP
                   22
                                                                             Attorneys for Plaintiff AEROJET-
                   23                                                        ROCKETDYNE, INC. F/K/A
                                                                             AEROJET-GENERAL CORPORATION
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                                             NOTICE OF SETTLEMENT, JOINT REQUEST AND PROPOSED ORDER
                         Case 2:17-cv-01515-KJM-AC Document 340 Filed 12/18/23 Page 3 of 4


                    1 Dated: December 18, 2023               CONDON & FORSYTH LLP

                    2                                        By: /s/ Katherine B. Posner (authorized 12/18/23)
                                                                   Katherine B. Posner
                    3                                              Wendy A. Grossman
                                                                   Jennifer J. Johnston
                    4                                              Mary Dow
                    5                                        Attorneys for Defendants and Counterclaim Plaintiffs
                    6                                        GLOBAL AEROSPACE, INC.; GREAT LAKES
                                                             INSURANCE SE (GERMANY);
                    7                                         NATIONAL FIRE & MARINE INSURANCE
                                                             COMPANY; TOKIO MARINE & NICHIDO FIRE
                    8                                        INSURANCE COMPANY, LTD.; ALLIANZ
                                                             GLOBAL RISKS US INSURANCE COMPANY;
                    9                                        STARR AVIATION AGENCY, INC.; STARR
                                                             SURPLUS LINES INSURANCE COMPANY; XL
                   10                                        SPECIALTY INSURANCE COMPANY; CHUBB
                                                             EUROPEAN GROUP LIMITED, F/K/A ACE
                   11                                        EUROPEAN GROUP LIMITED; SWISS RE
                                                             INTERNATIONAL SE ACTING THROUGH
                   12
                                                             SWISS RE INTERNATIONAL SE, UK BRANCH;
DOWNEY BRAND LLP




                   13                                        INTERNATIONAL INSURANCE COMPANY OF
                                                             HANNOVER SE F/K/A INTERNATIONAL
                   14                                        INSURANCE COMPANY OF HANNOVER PLC;
                                                             LLOYD’S SYNDICATE 2488; LLOYD’S
                   15                                        SYNDICATE 3210; LLOYD’S SYNDICATE 0435;
                                                             LLOYD’S SYNDICATE 0510; LLOYD’S
                   16                                        SYNDICATE 3624; LLOYD’S SYNDICATE 1274;
                                                             LLOYD’S SYNDICATE 2003; LLOYD’S
                   17                                        SYNDICATE 1183; LLOYD’S SYNDICATE 1301;
                                                             LLOYD’S SYNDICATE 5555; LLOYD’S
                   18                                        SYNDICATE 1400; LLOYD’S SYNDICATE 2987;
                   19                                        LLOYD’S SYNDICATE 2232; LLOYD’S
                                                             SYNDICATE 1200; LLOYD’S SYNDICATE 5000;
                   20                                        AND PARTNERRE INSURANCE IRELAND DAC
                                                             F/K/A/ PARTNERRE INSURANCE IRELAND
                   21                                        LTD (SUED INCORRECTLY HEREIN AS
                                                             PARTNER RE IRELAND INSURANCE LIMITED,
                   22                                        DUBLIN
                   23
                        Dated: December 18, 2023             HINSHAW & CULBERTSON LLP
                   24
                                                                By: /s/ Spencer Kook (authorized 12/18/23)
                   25                                              Spencer Kook
                                                                   Robert Bohner
                   26
                                                              Attorneys for Defendant MITSUI SUMITOMO
                   27                                         INSURANCE CO. OF AMERICA
                   28

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                                      NOTICE OF SETTLEMENT, JOINT REQUEST AND PROPOSED ORDER
                         Case 2:17-cv-01515-KJM-AC Document 340 Filed 12/18/23 Page 4 of 4


                    1                                                  ORDER

                    2               Pursuant to the foregoing Notice of Settlement and Joint Request to Stay Deadlines, and

                    3 good cause appearing, all dates and hearings are hereby vacated, and the Court will retain

                    4 jurisdiction over this matter for sixty days’ time to allow for Defendants to fulfill their duties under

                    5 the settlement agreement.

                    6               IT IS SO ORDERED.

                    7 Dated:

                    8                                                          KIMBERLY J. MUELLER
                                                                               United States District Judge
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DOWNEY BRAND LLP




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                                            NOTICE OF SETTLEMENT, JOINT REQUEST AND PROPOSED ORDER
